             UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT
                           APPEARANCE OF COUNSEL


Case Title: _______________________________ vs._________________________________


The Clerk will enter my appearance as Counsel in Appeal No. _______________for the
following party(s): (please specify)




   Appellant(s)     Petitioner(s)     Appellee(s)      Respondent(s)       Amicus Curiae        Intervenor(s)



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Attorney Name: ________________________ s/: ____________________________________

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                                          CERTIFICATE OF SERVICE

_____I hereby certify that on ____________, I electronically filed the foregoing with the Clerk of the Court for the
United States Court of Appeals for the Eighth Circuit by using the CM/ECF system.

_____I further certify that some of the participants in the case are not CM/ECF users. I have mailed the foregoing
document by First-Class Mail, postage prepaid, or have dispatched it to a third-party commercial carrier for delivery
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    Appellate Case: 24-1380               Page: 1        Date Filed: 03/13/2024 Entry ID: 5373187
